     Case 2:03-cr-00542-JCM-PAL          Document 1348       Filed 09/12/06      Page 1 of 1




 1                                     UNITED STATES DISTRICT COURT

 2                                         DISTRICT OF NEVADA

 3                                                   -oOo-

 4       UNITED STATES OF AMERICA,           ) CR-S-03-542-JCM (PAL)
                                             )
 5                Plaintiff,                 )
                                             )
 6                v.                         )
                                             )
 7       Charles Acosta, et al.,             )
                                             )
 8                Defendants.                )
         ____________________________________)
 9
                                      (Proposed)
10       ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
         DENYING DEFENDANT HURN’S MOTION FOR ELECTION AND DISMISSAL OF
11        COUNTS FOR MULTIPLICITY (#1123) AND DEFENDANT HURN’S MOTION TO
            DISMISS VINDICTIVE PROSECUTION AND FOR DISCOVERY RELATED
12        THERETO (#1122) AND ORDER DENYING DEFENDANT MORALES’ MOTION
           FOR RECONSIDERATION OF MOTION FOR BILL OF PARTICULARS (#911)
13
                On September 5, 2006, this Court held a hearing to consider defendant Hurn’s
14
         Objections to the Magistrate Judge’s Report and Recommendation denying defendant Hurn’s
15
         Motion for Election and Dismissal of Counts for Multiplicity (#1123) and defendant Hurn’s
16
         Motion to Dismiss Vindictive Prosecution and For Discovery Related Thereto (#1122). The
17
         Court also scheduled for hearing defendant Morales’ Motion for Reconsideration of Motion for
18
         Bill of Particulars (#911).
19
                After reviewing the briefs filed and hearing argument from all parties, the Court adopts
20
         the Magistrate Judge’s recommendation and denies defendant Hurn’s Motion for Election and
21
         Dismissal of Counts for Multiplicity (#1123) and defendant Hurn’s Motion to Dismiss
22
         Vindictive Prosecution and For Discovery Related Thereto (#1122). The Court also denies
23
         defendant Morales’ Motion for Reconsideration of Motion for Bill of Particulars (#911).
24
                          12, 2006.
         Dated September ___,
25

26
                                                     _____________________________
27                                                   JAMES C. MAHAN
                                                     United States District Judge
28
